                                                         Case 5:20-cv-02255-EJD Document 212-1 Filed 12/29/23 Page 1 of 8



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                                                 6                             UNITED STATES DISTRICT COURT
                                                                             NORTHERN DISTRICT OF CALIFORNIA
                                                 7

                                                 8   RJ, as the representative of her beneficiary son
                                                     SJ, and DS, an individual, on behalf of themselves
                                                 9   and all others similarly situated,                 Case No. 5:20-cv-02255-EJD
                                                10                        Plaintiffs,                 [PROPOSED] ORDER GRANTING
                                                                                                      DEFENDANTS’ ADMINISTRATIVE
                                                11          v.                                        MOTION TO SEAL EXCERPTED AND/OR
MCDERMOTT WILL & EMERY LLP




                                                                                                      REDACTED VERSIONS OF EXHIBITS 3,
                                                12   CIGNA HEALTH AND LIFE INSURANCE                  5, 8-10, 15, 17-18, 22, AND 30 TO
                             ATTORNEYS AT LAW




                                                     COMPANY, and MULTIPLAN, INC.,                    PLAINTIFFS’ MOTION FOR CLASS
                               LOS ANGELES




                                                13                                                    CERTIFICATION, AND EXHIBITS 9, AND
                                                                          Defendants.                 10-13 TO PLAINTIFFS’ REPLY
                                                14

                                                15                                                    Hon. Edward J. Davila
                                                16                                                    Hearing: None set
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                                                      [PROPOSED] ORDER ON DEFENDANTS’ MOTION TO SEAL, CASE NO.: 5:20-CV-02255
                                                         Case 5:20-cv-02255-EJD Document 212-1 Filed 12/29/23 Page 2 of 8



                                                 1
                                                            The Court, having considered its prior Orders ruling on Plaintiffs’ two Administrative
                                                 2
                                                     Motions to Seal filed in connection with Plaintiffs’ Motion for Class Certification and Plaintiffs’
                                                 3
                                                     Reply in Support of its Motion for Class Certification (Dkts. 209, 211), which denied Plaintiffs’
                                                 4
                                                     motions to seal to the extent they sought to file entire deposition transcripts and a declaration by
                                                 5
                                                     Thomas Ralston in its entirety, and which invited Plaintiffs to re-file redacted and/or excerpted
                                                 6
                                                     versions of those documents, and having further considered Defendants’ Administrative Motion to
                                                 7
                                                     Seal Excerpted and/or Redacted Versions of Exhibits 3, 5, 8-10, 15, 17-18, 22, and 30 to Plaintiffs’
                                                 8
                                                     Motion for Class Certification, and Exhibits 9, and 10-13 to Plaintiffs’ Reply, orders the following
                                                 9
                                                     documents SEALED as described below:
                                                10
                                                            In particular, the Court ORDERS as follows:
                                                11
MCDERMOTT WILL & EMERY LLP




                                                        Description                       Portions to     Designation and Basis      Ruling
                                                12
                                                                                          be Sealed       for Sealing
                             ATTORNEYS AT LAW
                               LOS ANGELES




                                                13      Exhibit 3 to Plaintiffs’          Entire          Contains and discusses
                                                        administrative motion to file
                                                        confidential documents under      excerpted       information and
                                                14
                                                        seal in Plaintiffs’ Motion for    transcript      documents designated
                                                15      Class Certification –                             Confidential and
                                                        Deposition Tr. of Gabriel                         Confidential –
                                                16      Smith                                             Attorneys’ Eyes Only
                                                                                                          by Cigna pursuant to
                                                17                                                        the Stipulated
                                                                                                          Protective Order as
                                                18
                                                                                                          they contain and
                                                19                                                        discuss confidential and
                                                                                                          proprietary information
                                                20                                                        that will cause Cigna
                                                                                                          financial and
                                                21                                                        competitive harm if
                                                22                                                        disclosed
                                                        Exhibit 5 to Plaintiffs’          Entire          Contains and discusses
                                                23      administrative motion to file
                                                        confidential documents under      excerpted       information and
                                                24      seal in Plaintiffs’ Motion for    transcript      documents designated
                                                        Class Certification –                             Confidential and
                                                25      Deposition Tr. of Michael                         Confidential –
                                                        Battistoni                                        Attorneys’ Eyes Only
                                                26                                                        by Cigna pursuant to
                                                                                                          the Stipulated
                                                27                                                        Protective Order as
                                                28                                                        they contain and

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                                                      [PROPOSED] ORDER, CASE NO.: 5:20-CV-02255
                                                       Case 5:20-cv-02255-EJD Document 212-1 Filed 12/29/23 Page 3 of 8



                                                 1    Description                      Portions to     Designation and Basis Ruling
                                                 2                                     be Sealed       for Sealing
                                                                                                       discuss confidential and
                                                 3                                                     proprietary information
                                                                                                       that will cause Cigna
                                                 4                                                     financial and
                                                 5                                                     competitive harm if
                                                                                                       disclosed
                                                 6    Exhibit 8 to Plaintiffs’         Entire          Contains and discusses
                                                      administrative motion to file
                                                 7    confidential documents under     excerpted       information and
                                                      seal in Plaintiffs’ Motion for   transcript      documents designated
                                                 8    Class Certification - Deposition                 Confidential –
                                                      Tr. of Karen Beckstead                           Attorneys’ Eyes Only
                                                 9                                                     by MultiPlan pursuant
                                                                                                       to the Stipulated
                                                10                                                     Protective Order as
                                                11                                                     they contain and
MCDERMOTT WILL & EMERY LLP




                                                                                                       discuss confidential and
                                                12                                                     proprietary information
                             ATTORNEYS AT LAW




                                                                                                       that will cause
                               LOS ANGELES




                                                13                                                     MultiPlan financial and
                                                                                                       competitive harm if
                                                14
                                                                                                       disclosed
                                                15    Exhibit 9 to Plaintiffs’         Entire          Contains and discusses
                                                      administrative motion to file
                                                      confidential documents under     excerpted       information and
                                                16
                                                      seal in Plaintiffs’ Motion for   transcript      documents designated
                                                17    Class Certification - Deposition                 Confidential –
                                                      Tr. of Kathy Praxmarer                           Attorneys’ Eyes Only
                                                18                                                     by MultiPlan pursuant
                                                                                                       to the Stipulated
                                                19                                                     Protective Order as
                                                                                                       they contain and
                                                20
                                                                                                       discuss confidential and
                                                21                                                     proprietary information
                                                                                                       that will cause
                                                22                                                     MultiPlan financial and
                                                                                                       competitive harm if
                                                23                                                     disclosed
                                                24    Exhibit 10 to Plaintiffs’        ¶¶ 13-39,       Contains and discusses
                                                      administrative motion to file
                                                      confidential documents under     41-42, and      information designated
                                                25                                     n.1             Confidential and
                                                      seal in Plaintiffs’ Motion for
                                                      Class Certification -                            Confidential –
                                                26
                                                      Declaration of Thomas Ralston                    Attorneys’ Eyes Only
                                                27                                                     by MultiPlan pursuant
                                                                                                       to the Stipulated
                                                28                                                     Protective Order as

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                                                     [PROPOSED] ORDER, CASE NO.: 5:20-CV-02255
                                                       Case 5:20-cv-02255-EJD Document 212-1 Filed 12/29/23 Page 4 of 8



                                                 1    Description                      Portions to     Designation and Basis Ruling
                                                 2                                     be Sealed       for Sealing
                                                                                                       they contain and
                                                 3                                                     discuss confidential and
                                                                                                       proprietary information
                                                 4                                                     that will cause
                                                 5                                                     MultiPlan financial and
                                                                                                       competitive harm if
                                                 6                                                     disclosed
                                                      Exhibit 15 to Plaintiffs’        Entire          Contains and discusses
                                                 7    administrative motion to file
                                                      confidential documents under     excerpted       information and
                                                 8    seal in Plaintiffs’ Motion for   transcript      documents designated
                                                      Class Certification - Deposition                 Confidential and
                                                 9    Tr. of Rachel Murphy                             Confidential –
                                                                                                       Attorneys’ Eyes Only
                                                10                                                     by Cigna pursuant to
                                                11                                                     the Stipulated
MCDERMOTT WILL & EMERY LLP




                                                                                                       Protective Order as
                                                12                                                     they contain and
                             ATTORNEYS AT LAW




                                                                                                       discuss confidential and
                               LOS ANGELES




                                                13                                                     proprietary information
                                                                                                       that will cause Cigna
                                                14
                                                                                                       financial and
                                                15                                                     competitive harm if
                                                                                                       disclosed
                                                16

                                                17                                                     Contains information
                                                                                                       regarding Plaintiffs’
                                                18                                                     highly sensitive, private
                                                                                                       PHI and PII that is
                                                19                                                     protected by HIPAA
                                                20    Exhibit 17 to Plaintiffs’        Entire          Contains and discusses
                                                      administrative motion to file
                                                      confidential documents under     excerpted       information and
                                                21                                     transcript      documents designated
                                                      seal in Plaintiffs’ Motion for
                                                      Class Certification - Deposition                 Confidential and
                                                22
                                                      Tr. of Terri Cothron                             Confidential –
                                                23                                                     Attorneys’ Eyes Only
                                                                                                       by Cigna pursuant to
                                                24                                                     the Stipulated
                                                                                                       Protective Order as
                                                25                                                     they contain and
                                                                                                       discuss confidential and
                                                26
                                                                                                       proprietary information
                                                27                                                     that will cause Cigna
                                                                                                       financial and
                                                28

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                                                     [PROPOSED] ORDER, CASE NO.: 5:20-CV-02255
                                                       Case 5:20-cv-02255-EJD Document 212-1 Filed 12/29/23 Page 5 of 8



                                                 1    Description                      Portions to     Designation and Basis      Ruling
                                                 2                                     be Sealed       for Sealing
                                                                                                       competitive harm if
                                                 3                                                     disclosed
                                                      Exhibit 18 to Plaintiffs’        Entire          Contains and discusses
                                                 4    administrative motion to file
                                                      confidential documents under     excerpted       information and
                                                 5    seal in Plaintiffs’ Motion for   transcript      documents designated
                                                      Class Certification - Deposition                 Confidential –
                                                 6    Tr. of Monica Armstrong                          Attorneys’ Eyes Only
                                                 7                                                     by MultiPlan pursuant
                                                                                                       to the Stipulated
                                                 8                                                     Protective Order as
                                                                                                       they contain and
                                                 9                                                     discuss confidential and
                                                                                                       proprietary information
                                                10                                                     that will cause
                                                11                                                     MultiPlan financial and
MCDERMOTT WILL & EMERY LLP




                                                                                                       competitive harm if
                                                12                                                     disclosed
                             ATTORNEYS AT LAW
                               LOS ANGELES




                                                      Exhibit 22 to Plaintiffs’        Entire          Contains and discusses
                                                13    administrative motion to file
                                                      confidential documents under     excerpted       information and
                                                14    seal in Plaintiffs’ Motion for   transcript      documents designated
                                                      Class Certification - Deposition                 Confidential –
                                                15    Tr. of Sean Crandell                             Attorneys’ Eyes Only
                                                                                                       by MultiPlan pursuant
                                                16
                                                                                                       to the Stipulated
                                                17                                                     Protective Order as
                                                                                                       they contain and
                                                18                                                     discuss confidential and
                                                                                                       proprietary information
                                                19                                                     that will cause
                                                                                                       MultiPlan financial and
                                                20
                                                                                                       competitive harm if
                                                21                                                     disclosed
                                                      Exhibit 30 to Plaintiffs’        Entire          Contains and discusses
                                                22    administrative motion to file
                                                      confidential documents under     excerpted       information and
                                                23    seal in Plaintiffs’ Motion for   transcript      documents designated
                                                      Class Certification - Deposition                 Confidential and
                                                24    Tr. of Keith Jones                               Confidential –
                                                                                                       Attorneys’ Eyes Only
                                                25                                                     by Cigna pursuant to
                                                                                                       the Stipulated
                                                26
                                                                                                       Protective Order as
                                                27                                                     they contain and
                                                                                                       discuss confidential and
                                                28                                                     proprietary information

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                                                     [PROPOSED] ORDER, CASE NO.: 5:20-CV-02255
                                                       Case 5:20-cv-02255-EJD Document 212-1 Filed 12/29/23 Page 6 of 8



                                                 1    Description                       Portions to     Designation and Basis      Ruling
                                                 2                                      be Sealed       for Sealing
                                                                                                        that will cause Cigna
                                                 3                                                      financial and
                                                                                                        competitive harm if
                                                 4                                                      disclosed
                                                 5    Exhibit 9 to Plaintiffs’          Entire          Contains and discusses
                                                      administrative motion to file
                                                      confidential documents under      excerpted       information and
                                                 6                                      transcript      documents designated
                                                      seal in Plaintiffs’ Reply in
                                                 7    Support of its Motion for Class                   Confidential and
                                                      Certification - Deposition Tr.                    Confidential –
                                                 8    of Sean May                                       Attorneys’ Eyes Only
                                                                                                        by Cigna pursuant to
                                                 9                                                      the Stipulated
                                                                                                        Protective Order as
                                                10                                                      they contain and
                                                11                                                      discuss confidential and
MCDERMOTT WILL & EMERY LLP




                                                                                                        proprietary information
                                                12                                                      that will cause Cigna
                             ATTORNEYS AT LAW




                                                                                                        financial and
                               LOS ANGELES




                                                13                                                      competitive harm if
                                                                                                        disclosed
                                                14
                                                      Exhibit 10 to Plaintiffs’         Entire          Contains and discusses
                                                15    administrative motion to file
                                                      confidential documents under      excerpted       information and
                                                      seal in Plaintiffs’ Reply in      transcript      documents designated
                                                16
                                                      Support of its Motion for Class                   Confidential and
                                                17    Certification - Deposition Tr.                    Confidential –
                                                      of Laurence Baker                                 Attorneys’ Eyes Only
                                                18                                                      by Cigna pursuant to
                                                                                                        the Stipulated
                                                19                                                      Protective Order as
                                                                                                        they contain and
                                                20
                                                                                                        discuss confidential and
                                                21                                                      proprietary information
                                                                                                        that will cause Cigna
                                                22                                                      financial and
                                                                                                        competitive harm if
                                                23                                                      disclosed
                                                24    Exhibit 11 to Plaintiffs’         Entire          Contains and discusses
                                                      administrative motion to file                     information and
                                                      confidential documents under      excerpted
                                                25                                      transcript      documents designated
                                                      seal in Plaintiffs’ Reply in
                                                      Support of its Motion for Class                   Confidential and
                                                26                                                      Confidential –
                                                      Certification - Deposition Tr.
                                                27    of Ronald Luke                                    Attorneys’ Eyes Only
                                                                                                        by
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                                                     [PROPOSED] ORDER, CASE NO.: 5:20-CV-02255
                                                       Case 5:20-cv-02255-EJD Document 212-1 Filed 12/29/23 Page 7 of 8



                                                 1    Description                       Portions to     Designation and Basis      Ruling
                                                 2                                      be Sealed       for Sealing
                                                                                                        Cigna pursuant to the
                                                 3                                                      Stipulated Protective
                                                                                                        Order as they contain
                                                 4                                                      and discuss
                                                 5                                                      confidential and
                                                                                                        proprietary information
                                                 6                                                      that will cause Cigna
                                                                                                        financial and
                                                 7                                                      competitive harm if
                                                 8                                                      disclosed
                                                      Exhibit 12 to Plaintiffs’         Entire          Contains and discusses
                                                 9    administrative motion to file                     information and
                                                      confidential documents under      excerpted
                                                                                        transcript      documents designated
                                                10    seal in Plaintiffs’ Reply in
                                                      Support of its Motion for Class                   Confidential and
                                                11    Certification - Deposition Tr.                    Confidential –
MCDERMOTT WILL & EMERY LLP




                                                      of Brian Piper                                    Attorneys’ Eyes Only
                                                12                                                      by
                             ATTORNEYS AT LAW




                                                                                                        Cigna pursuant to the
                               LOS ANGELES




                                                13                                                      Stipulated Protective
                                                                                                        Order as they contain
                                                14
                                                                                                        and discuss
                                                15                                                      confidential and
                                                                                                        proprietary information
                                                16                                                      that will cause Cigna
                                                                                                        financial and
                                                17
                                                                                                        competitive harm if
                                                18                                                      disclosed
                                                      Exhibit 13 to Plaintiffs’         Entire          Contains and discusses
                                                19    administrative motion to file
                                                      confidential documents under      excerpted       information and
                                                20    seal in Plaintiffs’ Reply in      transcript      documents designated
                                                      Support of its Motion for Class                   Confidential and
                                                21    Certification - Deposition Tr.                    Confidential –
                                                      of Sean Petree                                    Attorneys’ Eyes Only
                                                22                                                      by Cigna pursuant to
                                                                                                        the Stipulated
                                                23
                                                                                                        Protective Order as
                                                24                                                      they contain and
                                                                                                        discuss confidential and
                                                25                                                      proprietary information
                                                                                                        that will cause Cigna
                                                26                                                      financial and
                                                                                                        competitive harm if
                                                27
                                                                                                        disclosed
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                                                     [PROPOSED] ORDER, CASE NO.: 5:20-CV-02255
                                                        Case 5:20-cv-02255-EJD Document 212-1 Filed 12/29/23 Page 8 of 8



                                                 1     Description                  Portions to     Designation and Basis       Ruling
                                                 2                                  be Sealed       for Sealing

                                                 3                                                  Contains information
                                                 4                                                  regarding Plaintiffs’
                                                                                                    highly sensitive, private
                                                 5                                                  PHI and PII that is
                                                                                                    protected by HIPAA
                                                 6

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                                                     IT IS SO ORDERED.
                                                 9

                                                10
                                                     Dated: ____________________                            ______________________________
                                                11
MCDERMOTT WILL & EMERY LLP




                                                                                                            Hon. Edward J. Davila
                                                12
                             ATTORNEYS AT LAW
                               LOS ANGELES




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                                                     [PROPOSED] ORDER, CASE NO.: 5:20-CV-02255
